          Case 1:22-cr-00183-SCJ-RDC Document 5 Filed 05/18/22 Page 1 of 1

                                                                                        FILED IN CHAMBERS
U.S. Department of Justice                                                               U.S.D.C ATLANTA
United States Attorney

                                                                                          05/17/2022
                                                                                    Date: _____________________
                             IN THE UNITED STATES DISTRICT COURT KEVIN P. WEIMER, Clerk
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                                      /s/Sonya Lee Coggins
                                                                                  By: ____________________________
                                                                                            Deputy Clerk
UNITED STATES OF AMERICA                                              Indictment/ Information


V.

                                                                   1 :22 -C1U83
John W. Oxendine                                             UNDER SEAL

Agent to Arrest




                                                  PRAECIPE

      The Clerk is hereby directed to issue a warrant for arrest/ certified copy (copies) of
indictment attached, returnable instanter, in the above-stated case.




                                                         Christopher J. Huber
                                                         Assistant United States Attorney



Filed In Clerk's Office/ this                   day of         _/20




                                    Clerk




By
                                 Deputy Clerk


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                               s^^)^^1»fT
                                                                                            Form No. USA-19-8
                                                                                               (Rev.08/06/87)


                               ^ss/jyfff^
                               I^VS^,^ ^fti^S^l,                                             N.D.Ga. 08/26/94
